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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed May 11, 2018
______________________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


     IN RE:                                                   §            Case No. 18-30264-SGJ-7
                                                              §            Case No. 18-30265-SGJ-7
     ACIS CAPITAL MANAGEMENT, L.P.,                           §
     ACIS CAPITAL MANAGEMENT GP,                              §            (Jointly Administered Under Case
     LLC,                                                     §            No. 18-30264-SGJ-7)
                                                              §
                     DEBTORS.                                 §            Chapter 7
                                                              §

           ORDER GRANTING EMERGENCY MOTION FOR AN ORDER APPOINTING A
         TRUSTEE FOR THE CHAPTER 11 ESTATES OF ACIS CAPITAL MANAGEMENT,
         L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC PURSUANT TO BANKRUPTCY
                                 CODE SECTION 1104(A)

             Upon the Emergency Motion for an Order Appointing a Trustee for the Chapter 11

     Estates of Acis Capital Management, L.P. and Acis Capital Management GP, LLC Pursuant to

     Bankruptcy Code Section 1104(a) [Docket No. 173] (the "Motion") 1 filed by Joshua N. Terry

     ("Mr. Terry") in the above-referenced cases; and it appearing that the relief requested in the

     Motion is in the best interests of the Debtors' estates, their creditors, and other parties-in-interest;


     1
       Unless otherwise indicated, capitalized terms used in this Order shall have the meanings ascribed to them in
     the Motion.
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and that there is sufficient cause for the appointment of a Chapter 11 Trustee; and the Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

28 U.S.C. §§ 1408 and1409; and notice of the Motion having been adequate and appropriate

under the circumstances; and after due deliberation and sufficient cause appearing,

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED, as set forth herein;

       2.      Sufficient grounds exist for the appointment of a trustee for the Debtors'

Chapter 11 estates pursuant to 11 U.S.C. §§ 1104(a)(1) and (2);

       3.      The United States Trustee is hereby directed to appoint a Chapter 11 Trustee (the

"Trustee") in the Debtors' Chapter 11 cases;

       4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Order; and

       5.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

                                    ### END OF ORDER ##




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